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 8   official capacity as California Attorney General

 9
                              IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

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13   EASTON STOKES,                                       Case No. 3:19-cv-04613-WHA

14                                           Plaintiff, [PROPOSED] ORDER GRANTING
                                                        DEFENDANT CALIFORNIA
15         v.                                           ATTORNEY GENERAL ROB BONTA’S
                                                        MOTION FOR SUMMARY JUDGMENT
16
     THE UNITED STATES DEPARTMENT
17   OF JUSTICE, WILLIAM BARR,
     individually and as Attorney General of the
18   United States, THE U.S. BUREAU OF
     ALCOHOL, TOBACCO, FIREARMS AND
19   EXPLOSIVES (ATF); REGINA
     LOMBARDO individually and as Acting
20   Director of ATF; THE FEDERAL
     BUREAU OF INVESTIGATION;
21   Christopher Wray individually and as
     Director of the Federal Bureau of
22   Investigation; STATE OF CALIFORNIA,
     ROB BONTA, individually and acting as
23   Attorney General of the State of California,
     THE SONOMA COUNTY SHERIFF'S
24   OFFICE, MARK ESSICK, individually and
     as Sheriff of Sonoma County,
25
                                          Defendants.
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                [Proposed] Order Granting Def. Cal. Att’y Gen.’s Mot. for Summary Judgment (3:19-cv-04613-WHA)
      Case 3:19-cv-04613-WHA Document 89-2 Filed 04/29/21 Page 2 of 3



 1                                         [PROPOSED] ORDER

 2         Defendant California Attorney General Rob Bonta 1 filed a Motion for Summary Judgment

 3   on April 29, 2021. After considering the submissions of the parties, the Court finds that

 4   Plaintiff’s suit against the California Attorney General is barred by the Eleventh Amendment.

 5   The Court also finds that Plaintiff fails to establish a case or controversy against the California

 6   Attorney General, and thus lacks Article III standing to bring this suit with respect to the

 7   California Attorney General.

 8         IT IS HEREBY ORDERED that Defendant California Attorney General Rob Bonta’s

 9   Motion for Summary Judgment is GRANTED.

10         IT IS SO ORDERED.

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     Dated: _________________
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                                                            Hon. William Alsup
14                                                          United States District Judge
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              Attorney General Rob Bonta is substituted for former Attorney General Xavier Becerra.
28   See Fed. R. Civ. P. 25(d).
                                                    1
                [Proposed] Order Granting Def. Cal. Att’y Gen.’s Mot. for Summary Judgment (3:19-cv-04613-WHA)
          Case 3:19-cv-04613-WHA Document 89-2 Filed 04/29/21 Page 3 of 3




                                 CERTIFICATE OF SERVICE
Case Name:        Easton Stokes v. US DOJ, et al          No.    3:19-cv-04613-WHA

I hereby certify that on April 29, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
  DEFENDANT CALIFORNIA ATTORNEY GENERAL ROB BONTA’S NOTICE OF
  MOTION; MOTION FOR SUMMARY JUDGMENT; POINTS OF AUTHORITIES IN
            SUPPORT OF MOTION FOR SUMMARY JUDGMENT
  DECLARATION OF GILBERT MAC IN SUPPORT OF DEFENDANT CALIFORNIA
   ATTORNEY GENERAL ROB BONTA'S MOTION FOR SUMMARY JUDGMENT
      [PROPOSED] ORDER GRANTING DEFENDANT CALIFORNIA ATTORNEY
          GENERAL ROB BONTA’S MOTION FOR SUMMARY JUDGMENT
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on April 29,
2021, at Sacramento, California.


                Lindsey Cannan                                  /s/ Lindsey Cannan
                   Declarant                                          Signature

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